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16
                                 UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
18

19
     REARDEN LLC, REARDEN MOVA LLC,                    Case No.     4:17-cv-04006-JST
20

21                                    Plaintiffs,      JOINT STIPULATION AND
                                                       [PROPOSED] ORDER PURSUANT TO
22         v.                                          ECF NOS. 540, 542
23   WALT DISNEY PICTURES, a California
     corporation,
24

25                                   Defendant.

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                                                          STIPULATION AND [PROPOSED] ORDER
                                                                              NO. 4:17-CV-04006-JST
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 1          Plaintiffs Rearden LLC and Rearden MOVA LLC (“Plaintiffs”) and Defendant Walt Disney

 2   Pictures (“Defendant”), by and through their counsel of record, hereby stipulate as follows:

 3          1.      WHEREAS, on October 18, 2023, the Court issued an Order Granting Defendant’s

 4   Motion to Exclude Portions of Philip Fier’s Testimony (“Fier Order”), ECF No. 539;

 5          2.      WHEREAS, on October 18, 2023, the Court issued an Order Denying Plaintiffs’

 6   Motion to Exclude Portions of Dr. Stephen Lane’s Testimony (“Lane Order”), ECF No. 541;

 7          3.      WHEREAS, the Court temporarily restricted public access to both the Fier Order and

 8   the Lane Order, and directed the parties to file for each order, within one week of its issuance, either

 9   (1) a stipulated proposed redacted version, or (2) a stipulation that the parties agree that no redaction

10   is necessary, ECF Nos. 540, 542;

11          4.      WHEREAS, Plaintiffs and Defendant have conferred and request that the Court enter

12   the attached proposed redacted version of the Fier Order, which redacts only one portion of the order

13   that contains material the Court has already ordered sealed at ECF No. 456;

14          5.      WHEREAS, Plaintiffs and Defendant have conferred and agree that no redaction of

15   the Lane Order is necessary;

16          6.      NOW THEREFORE, the Parties stipulate that there is good cause to (1) enter the

17   proposed redacted version of the Fier Order; and (2) allow full access by the public to the unredacted

18   Lane Order at ECF No. 541.

19          7.      Electronic signatures are sufficient to execute this stipulation.

20   DATED: October 24, 2023                HAGENS BERMAN SOBOL SHAPIRO LLP

21                                                  By:    /s/ Mark S. Carlson
                                                           MARK S. CARLSON
22                                                  Attorneys for Plaintiffs
23

24   DATED: October 24, 2023                MUNGER, TOLLES & OLSON LLP

25                                                  By:    /s/ Kelly M. Klaus
                                                           KELLY M. KLAUS
26                                                  Attorneys for Defendant
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                                                                STIPULATION AND [PROPOSED] ORDER
                                                                              NO. 4:17-CV-04006-JST
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 1                             CIVIL LOCAL RULE 5-1 ATTESTATION

 2
                   I, Kelly Klaus, am the ECF user whose credentials were utilized in the electronic
 3
      filing of this document. In accordance with Civil Local Rule 5-1(i)(3), I hereby attest that Mark
 4
      Carlson concurred in the filing of this document.
 5

 6

 7                                                        /s/ Kelly M. Klaus
                                                           Kelly M. Klaus
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12                                        [PROPOSED] ORDER

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           PURSUANT TO STIPULATION, IT IS SO ORDERED.
14

15
      October 25, 2023
     ___________________, 2023
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17                                               The Honorable Jon S. Tigar
                                                 United States District Judge
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                                                            STIPULATION AND [PROPOSED] ORDER
                                                                          NO. 4:17-CV-04006-JST
